 Case 6:22-cv-01580-PGB-LHP Document 8 Filed 09/27/22 Page 1 of 2 PageID 62

                     UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF FLORIDA
                          ORLANDO DIVISION

GUILLERMINA LOPEZ,

                    Plaintiff,

v.                                           Case No: 6:22-cv-1580-PGB-LHP

EMBRY-RIDDLE
AERONAUTICAL UNIVERSITY,
INC.,

                    Defendant.


                     ORDER DIRECTING COMPLIANCE

        This case is before the Court upon periodic review. Plaintiff has failed to

comply with the Court's Initial Case Order (Doc. No.5) of September 2, 2022,

directing Plaintiff to file her Certificate of Interested Persons and Corporate

Disclosure Statement and Notice of Pendency of Other Actions. Accordingly, it is

        ORDERED that the Plaintiff shall file a response to said Order within

fourteen (14) days from the date of this Order. Failure to comply with this Order

may result in the dismissal of the case without further notice or other appropriate

sanctions.

        DONE AND ORDERED at Orlando, Florida, this 27th day of September,

2022.
Case 6:22-cv-01580-PGB-LHP Document 8 Filed 09/27/22 Page 2 of 2 PageID 63



Copies furnished to:
Counsel of Record
Any Unrepresented Party
